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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

In re Fannie Mae/Freddie Mac Senior
Preferred Stock Purchase Agreement Class
Action Litigations

 

This Memorandum Opinion relates to: Case No. 1:13-mce-1288-RCL
Case No. 13-cv-1053-RCL

ALL CASES.

 

 

ORDER
The trial date currently set for July 11, 2022, is VACATED. It is hereby ORDERED that
the trial is reset for a ten-day jury trial beginning on September 19, 2022, unless counsel are
unavailable. The Court ORDERS the parties to meet and confer and promptly file an amended
proposed scheduling order for pretrial proceedings, pretrial filings, and disclosures, including
proposed voir dire and jury instructions. The Court further DISMISSES AS MOOT the Joint
Motion to Amend the Scheduling Order [148, 152] in light of the necessity for a new trial date.

IT IS SO ORDERED.

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Date: 3] fer Royce C. Lamberth
United States District Judge
